Case 16-10168   Doc 109   Filed 11/08/18 Entered 11/09/18 07:04:11   Desc Main
                           Document     Page 1 of 5
Case 16-10168   Doc 109   Filed 11/08/18 Entered 11/09/18 07:04:11   Desc Main
                           Document     Page 2 of 5
Case 16-10168   Doc 109   Filed 11/08/18 Entered 11/09/18 07:04:11   Desc Main
                           Document     Page 3 of 5
Case 16-10168   Doc 109   Filed 11/08/18 Entered 11/09/18 07:04:11   Desc Main
                           Document     Page 4 of 5
Case 16-10168   Doc 109   Filed 11/08/18 Entered 11/09/18 07:04:11   Desc Main
                           Document     Page 5 of 5
